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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                            April 29, 2025
                     UNITED STATES DISTRICT COURT
                                                                         Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

                                         §
Matthew Bader,                           §
                                         §
              Plaintiff,                 §
                                         §      Civil Action No. 4:25-cv-00006
v.                                       §
                                         §
Rocket Mortgage, LLC,                    §
                                         §
              Defendant.                 §
                                         §

                MEMORANDUM AND RECOMMENDATION

       On February 24, 2025, Defendant Rocket Mortgage, LLC filed a motion

to dismiss all claims. Dkt. 10. Because Plaintiff Matthew Bader did not

respond, the motion to dismiss is deemed unopposed. See S.D. Tex. L.R. 7.4.

As explained below, the motion should be granted.

                                  Background

       On December 2, 2024, Bader sued Rocket Mortgage in state court. Dkt.

1-4 at 2. His petition concerns certain property at 11014 Rippling Fields Court

in Houston, Texas 77064 (the “Property”), which at the time was posted for a

foreclosure sale the following day. See id. at 3. The petition alleges that “[t]he

Trustee representing the interest of the Lender” failed to send Bader a notice

of foreclosure and notice of right to cure and did not provide reinstatement
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figures. See id. at 3-4. The only asserted claims are for unjust enrichment,

gross negligence, and breach of contract. See id. at 4.

      The trial court issued a temporary restraining order that expired in mid-

December. See Dkt. 1-4 at 18-20 (signed on December 2, 2024). Although the

record does not reflect that it was properly served, Rocket Mortgage timely

removed the case based on diversity jurisdiction. See Dkt. 1 at 2-3 (detailing

facts supporting jurisdiction under 28 U.S.C. § 1332).

      Thereafter, Rocket Mortgage requested a conference seeking permission

to file a motion to dismiss. Dkt. 5. The Court convened a hearing to address

the issue, Dkt. 8, at which Bader failed to appear, see Dkt. 9 at 1. Nevertheless,

the Court’s order gave Bader an opportunity to amend his pleading before

Rocket Mortgage could file a motion to dismiss. See Dkt. 9 at 1-2. The Court

specified February 18, 2025 as Bader’s deadline for filing an amended

complaint. See id. at 2.

      Bader did not amend his pleading. After the deadline expired, Rocket

Mortgage filed its motion to dismiss this suit pursuant to Fed. R. Civ. P.

12(b)(6). Dkt. 10 (filed February 24, 2025). Bader did not respond to the

motion, rendering it ripe for resolution.

                                 Legal standard

      Dismissal under Rule 12(b)(6) is warranted if a party fails “to state a

claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). To survive a


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Rule 12(b)(6) motion to dismiss, a plaintiff must plead “enough facts to state a

claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citing Twombly, 550 U.S. at 556).

      “Threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Rather,

“[t]he complaint (1) on its face (2) must contain enough factual matter (taken

as true) (3) to raise a reasonable hope or expectation (4) that discovery will

reveal relevant evidence of each element of a claim.” See Lormand v. U.S.

Unwired, Inc., 565 F.3d 228, 257 (5th Cir. 2009) (analyzing Twombly, 550 U.S.

at 555-56). When resolving a Rule 12(b)(6) motion, the court “accept[s] all well-

pleaded facts as true and view[s] those facts in the light most favorable to the

plaintiffs.” Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir. 2009) (quotation

omitted).

      Pro se pleadings are liberally construed. Butler v. S. Porter, 999 F.3d

287, 292 (5th Cir. 2021) (citing Haines v. Kerner, 404 U.S. 519, 520-21 (1972)).

But “regardless of whether the plaintiff is proceeding pro se or is represented

by counsel, conclusory allegations or legal conclusions masquerading as factual

conclusions will not suffice to prevent a motion to dismiss.” Prescott v. UTMB


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Galveston Tex., 73 F.4th 315, 318 (5th Cir. 2023) (quoting Taylor v. Books A

Million, Inc., 296 F.3d 376, 378 (5th Cir. 2002)); see also Chhim v. Univ. of Tex.

at Austin, 836 F.3d 467, 469 (5th Cir. 2016) (“[P]ro se plaintiffs must still plead

factual allegations that raise the right to relief above the speculative level.”).

                                    Analysis

       As Rocket Mortgage maintains, and the Court agrees, Bader has not

adequately pleaded his claims. See Dkt. 10. And despite being granted an

opportunity to submit an amended pleading, see Dkt. 9 at 1-2, Bader failed to

do so. Nor did Bader respond to the motion to dismiss. The proper remedy is

to dismiss this suit with prejudice.

I.     Bader has not stated a plausible breach of contract claim.

       Under Texas law, Bader’s breach-of-contract claim has the following

requirements: “(1) the existence of a valid contract; (2) performance or tendered

performance by the plaintiff; (3) breach of the contract by the defendant; and

(4) damages to the plaintiff as a result of the defendant’s breach.” Williams v.

Wells Fargo Bank, N.A., 884 F.3d 239, 244 (5th Cir. 2018) (quoting Caprock

Inv. Corp. v. Montgomery, 321 S.W.3d 91, 99 (Tex. App.—Eastland 2010, pet.

denied)). A claim for breach of a deed of trust “must identify the specific

provision in the contract that was breached.” Williams v. Wells Fargo Bank,

N.A., 560 F. App’x 233, 238 (5th Cir. 2014) (per curiam).




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      Liberally construed, Bader’s breach-of-contract theory complains that

Rocket Mortgage failed to send contractually required notices of foreclosure

and an opportunity to cure. See Dkt. 1-4 at 3-4. But as Rocket Mortgage

observes, even if the contract (e.g., the promissory note or the deed of trust)

requires it to provide those notices, the absence of a foreclosure sale precludes

Bader from recovering damages. See Dkt. 10 at 5-6. Rocket Mortgage further

asserts that Bader has not identified any other conceivable contractual

provision that was breached. See id. at 5. The Court agrees with Rocket

Mortgage’s contentions.

      Bader’s allegations reflect that the foreclosure sale has not occurred. See

Dkt. 1-4 at 5-6 (seeking to prevent the foreclosure sale, which was scheduled

for the following day); see also id. at 18-20 (TRO). “If a foreclosure has not

occurred, there are no damages recoverable under a breach of contract claim.”

Jones v. NewRez LLC, 2022 WL 16579330, at *4 (N.D. Tex. Oct. 7, 2022). And

without recoverable damages, the breach-of-contract claim fails. See, e.g.,

Donnelly v. JPMorgan Chase Bank, N.A., 2015 WL 6701922, at *1 (S.D. Tex.

Nov. 3, 2015) (adopting magistrate judge’s conclusion that the absence of a

foreclosure sale defeated a mortgagor’s breach-of-contract claim). Moreover,

Bader does not identify any other alleged breach of the promissory note or deed

of trust, much less any resulting damages. This claim should be dismissed.




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II.     Gross negligence is not a cognizable claim in this context.

        The petition also raises a gross negligence claim, without any supporting

facts. See Dkt. 1-4 at 4. Rocket Mortgage argues that this claim is barred by

the economic loss rule and the absence of any legal duty. See Dkt. 10 at 7-8.

Rocket Mortgage is correct.

        First, the economic loss rule “generally precludes recovery in tort for

economic losses resulting from the failure of a party to perform under a

contract.” Lamar Homes, Inc. v. Mid-Continent Cas. Co., 242 S.W.3d 1, 12

(Tex. 2007) (citing Sw. Bell Tel. Co. v. DeLanney, 809 S.W.2d 493, 494-95 (Tex.

1991)). “In operation, the rule restricts contracting parties to contractual

remedies for those economic losses associated with the relationship, even when

the breach might reasonably be viewed as a consequence of a contracting

party’s negligence.” Id. at 12-13 (citing Jim Walter Homes, Inc. v. Reed,

711 S.W.2d 617, 618 (Tex. 1986)); see also Mass v. Wells Fargo Bank, N.A., 2022

WL 61161, at *5 (S.D. Tex. Jan. 6, 2022) (citing Colbert v. Wells Fargo Bank,

N.A., 850 F. App’x 870, 876 (5th Cir. 2021)). That is the case here.

        The petition accuses Rocket Mortgage of failing to send notices necessary

to foreclose on the Property. See Dkt. 1-4 at 3-4. But the obligation to send

those notices arises from the parties’ agreements. Bader cannot repackage his

breach-of-contract claim as a tort claim sounding in negligence. See Villarreal

v. Wells Fargo Bank, N.A., 814 F.3d 763, 767 (5th Cir. 2016) (affirming


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dismissal of a negligence claim that stems “from an alleged violation of ... solely

contractual duties”).

      Second, gross negligence requires a predicate finding of negligence.

See Dekelaita v. BP Amoco Chem. Co., 2008 WL 2964376, at *15 (S.D. Tex. July

30, 2008) (collecting Texas decisions for this principle); Hall v. Stephenson,

919 S.W.2d 454, 467 (Tex. App.—Fort Worth 1996, writ denied) (“[A] finding of

ordinary negligence is a prerequisite to a finding of gross negligence.”).

Negligence claims require proof that the defendant breached a legal duty to

the plaintiff. See Espinoza v. Cargill Meat Sols. Corp., 622 F.3d 432, 443 (5th

Cir. 2010) (listing the defendant’s legal duty and its breach of that duty as two

of the three elements). But Texas law does not recognize a general legal duty

between a mortgagor and mortgagee.          See Sugarek v. Bank of Am., N.A.,

2019 WL 13193216, at *8 (S.D. Tex. Sept. 11, 2019) (“Texas courts and courts

in this district routinely dismiss negligence-based claims in the mortgage

context for lack of an independent tort duty.”) (collecting authorities).

      The lack of a cognizable legal duty negates Bader’s recovery for

negligence. This also defeats Bader’s gross negligence claim. Davis v. Wells

Fargo Bank, N.A., 976 F. Supp. 2d 870, 888 (S.D. Tex. 2013) (dismissing

negligence and gross negligence claims because “Texas law does not recognize

an independent legal duty between a mortgagor and mortgage[e] to support a




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negligence claim”).     Rocket Mortgage is entitled to dismissal of the gross

negligence claim.

III.   Unjust enrichment is not actionable here.

       Bader’s final claim, for unjust enrichment, is flawed. See Dkt. 1-4 at 4.

“A party may recover under the unjust enrichment theory when one person has

obtained a benefit from another by fraud, duress, or the taking of an undue

advantage.” Heldenfels Bros., Inc. v. City of Corpus Christi, 832 S.W.2d 39, 41

(Tex. 1992). But “when a valid, express contract covers the subject matter of

the parties’ dispute, there can be no recovery under a quasi-contract theory”

like unjust enrichment. See Fortune Prod. Co. v. Concoco, Inc., 52 S.W.3d 671,

684 (Tex. 2000).

       Bader’s allegations reflect that Rocket Mortgage’s challenged conduct—

namely, its obligation to provide pre-foreclosure notices—are governed by the

parties’ contracts. No allegations indicate otherwise. That precludes Bader’s

alternative unjust enrichment claim, just as Rocket Mortgage asserts, Dkt. 10

at 8-9. See, e.g., Dick v. Colo. Hous. Enters., L.L.C., 780 F. App’x 121, 126 (5th

Cir. 2019) (affirming dismissal of unjust enrichment claim where the plaintiff

failed to allege “that there was no valid express contract to govern the parties’

dealings”); Garcia v. LoanCare, LLC, 2018 WL 3614813, at *10 (S.D. Tex. June

25, 2018) (unjust enrichment claim failed because “there is no dispute that the

Promissory Note and Deed of Trust cover the parties’ rights and obligations


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with respect to the mortgage loan”), adopted by 2018 WL 3611070 (S.D. Tex.

July 19, 2018). This Court should grant Rocket Mortgage’s motion to dismiss

all claims.

                             Recommendation

      For the foregoing reasons, it is RECOMMENDED that Defendant

Rocket Mortgage, LLC’s motion to dismiss (Dkt. 10) be GRANTED, and that

Plaintiff Matthew Bader’s claims be DISMISSED WITH PREJUDICE.

      The parties have fourteen days from service of this Report and

Recommendation to file written objections. 28 U.S.C. § 636(b)(1); Fed.

R. Civ. P. 72(b).       Failure to file timely objections will preclude

appellate review of factual findings and legal conclusions, except for

plain error. Ortiz v. City of San Antonio Fire Dep’t, 806 F.3d 822, 825

(5th Cir. 2015).

      Signed on April 29, 2025, at Houston, Texas.



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                                             Yvonne
                                             Yv
                                              vonne Y. Hoo
                                             United States Magistrate Judge




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